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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION


UNITED STATES OF AMERICA                )
                                        )
                                        )
     v.                                 )     No. 2:05-CR-143 PS
                                        )
RUDOLFO HEREDIA                         )




                          FINAL VERDICT FORM
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                                           Verdict Form

Count 1

          As to Count 1 of the indictment, we the jury hereby find the defendant, Rudolfo Heredia:

          _____ Guilty          __x___         Not Guilty



S/Juror                                               1/5/2006
Foreperson                                            Date


S/Juror                                               1/5/2006
Juror                                                 Date


S/Juror                                               1/5/2006
Juror                                                 Date


S/Juror                                               1/5/2006
Juror                                                 Date


S/Juror                                               1/5/2006
Juror                                                 Date


S/Juror                                               1/5/2006
Juror                                                 Date


S/Juror                                               1/5/2006
Juror                                                 Date


S/Juror                                               1/5/2006
Juror                                                 Date




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S/Juror                                  1/5/2006
Juror                                    Date


S/Juror                                  1/5/2006
Juror                                    Date


S/Juror                                  1/5/2006
Juror                                    Date


S/Juror                                  1/5/2006
Juror                                    Date




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Count 2

          As to Count 2 of the indictment, we the jury hereby find the defendant, Rudolfo Heredia:

          _____ Guilty          __x___         Not Guilty



S/Juror                                               1/6/2006
Foreperson                                            Date


S/Juror                                               1/6/2006
Juror                                                 Date


S/Juror                                               1/6/2006
Juror                                                 Date


S/Juror                                               1/6/2006
Juror                                                 Date


S/Juror                                               1/6/2006
Juror                                                 Date


S/Juror                                               1/6/2006
Juror                                                 Date


S/Juror                                               1/6/2006
Juror                                                 Date


S/Juror                                               1/6/2006
Juror                                                 Date


S/Juror                                               1/6/2006
Juror                                                 Date




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S/Juror                                  1/6/2006
Juror                                    Date


S/Juror                                  1/6/2006
Juror                                    Date


S/Juror                                  1/6/2006
Juror                                    Date




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